                  UNITED STATES BANKRUPTCY COURT
                  MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Donna M Brennan
                                                           Case No.: 5-19-03433 MJC

                                                           Chapter 13
                     Debtor(s)

                             NOTICE OF FINAL CURE PAYMENT

 According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
 cure the pre-petition and post-petition default in the claim below has been paid in full and the
 debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  PNC
 Court Claim Number:             05
 Last Four of Loan Number:       7744
 Property Address if applicable: 160 Old Route 940

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                    $26,467.86
 b.      Prepetition arrearages paid by the trustee:                        $26,467.86
 c.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                 $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and
         paid by the trustee:
 e.       Allowed postpetition arrearage:                                   $4,303.72
 f.       Postpetition arrearage paid by the trustee:                       $4,303.72
 g.       Total b, d, and f:                                                $30,771.58

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
 counsel, and the trustee, within 21 days after service of this notice, a statement indicating
 whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
 default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
 and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
 current on all postpetition payments as of the date of the response. Failure to file and serve
 the statement may subject creditor to further action of the court, including possible sanctions.




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To assist in reconciling the claim, a history of payments made by the trustee is attached to
copies of this notice sent to the debtor(s) and the creditor.


Dated: November 27, 2024
                                                   Respectfully submitted,


                                                   /s/ Jack N. Zaharopoulos
                                                   Standing Chapter 13 Trustee
                                                   Suite A, 8125 Adams Drive
                                                   Hummelstown, PA 17036
                                                   Phone: (717) 566-6097
                                                   Fax: (717) 566-8313
                                                   email: info@pamd13trustee.com




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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Re: Donna M Brennan
                                                           Case No.: 5-19-03433 MJC

                                                           Chapter 13
                    Debtor(s)

                                 CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on November 27, 2024, I served a copy of
this Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown,
PA, unless served electronically.

 Served Electronically
 Kim M Diddio, Esquire
 17 N 6th St
 Stroudsburg PA 18360


 Served by First Class Mail
 PNC NA
 Att: Bankruptcy
 3232 Newmark Dr
 Miamisburg OH 45342

 Donna M Brennan
 160 Old Route 940
 Pocono Lake PA 18360


  I certify under penalty of perjury that the foregoing is true and correct.


  Date: November 27, 2024                               /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




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                                                  Disbursements for Claim
Case: 19-03433             DONNA M BRENNAN
          PNC BANK
                                                                                      Sequence: 24
          P.O. BOX 94982
                                                                                         Modify:
                                                                                     Filed Date:
          CLEVELAND, OH 44101-
                                                                                     Hold Code:
 Acct No: #7744/ post arrears old rt 940
          POST ARREARS STIP


                                                    Debt:         $4,303.72       Interest Paid:              $0.00
        Amt Sched:                     $0.00                                        Accrued Int:               $0.00
         Amt Due:          $0.00                     Paid:        $4,303.72        Balance Due:                $0.00

Claim name                                 Type      Date         Check #      Principal    Interest       Total Reconciled
                                                                                                 DisbDescrp
 5210        PNC BANK
521-0 PNC BANK                                     06/18/2024      9018696      $116.44       $0.00     $116.44 06/18/2024


521-0 PNC BANK                                     04/17/2024      9018348      $128.67       $0.00     $128.67 04/17/2024


521-0 PNC BANK                                     03/14/2024      9018169       $93.29       $0.00      $93.29 03/14/2024


521-0 PNC BANK                                     02/14/2024      9017985      $186.57       $0.00     $186.57 02/14/2024


521-0 PNC BANK                                     01/12/2024      9017823       $93.29       $0.00      $93.29 01/12/2024


521-0 PNC BANK                                     12/19/2023      9017665       $93.29       $0.00      $93.29 12/19/2023


521-0 PNC BANK                                     10/18/2023      9017317       $98.16       $0.00      $98.16 10/18/2023


521-0 PNC BANK                                     09/19/2023      9017138       $98.15       $0.00      $98.15 09/19/2023


521-0 PNC BANK                                     08/09/2023      9016953       $98.15       $0.00      $98.15 08/09/2023


521-0 PNC BANK                                     07/11/2023      9016763       $98.15       $0.00      $98.15 07/11/2023


521-0 PNC BANK                                     06/13/2023      9016585       $94.31       $0.00      $94.31 06/13/2023


521-0 PNC BANK                                     04/18/2023      9016213       $94.30       $0.00      $94.30 04/19/2023


521-0 PNC BANK                                     03/15/2023      9016009       $94.30       $0.00      $94.30 03/15/2023


521-0 PNC BANK                                     02/15/2023      9015810       $94.30       $0.00      $94.30 02/15/2023



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Claim name                       Type     Date         Check #      Principal   Interest       Total Reconciled
                                                                                     DisbDescrp
521-0 PNC BANK                          01/18/2023      9015601       $94.30      $0.00      $94.30 01/18/2023


521-0 PNC BANK                          12/13/2022     9015399        $94.95     $0.00       $94.95 12/13/2022


521-0 PNC BANK                          11/16/2022     9015187        $94.30     $0.00       $94.30 11/16/2022


521-0 PNC BANK                          09/13/2022     9014760        $99.48     $0.00       $99.48 09/13/2022


521-0 PNC BANK                          08/17/2022     9014552       $291.52     $0.00      $291.52 08/18/2022


521-0 PNC BANK                          06/14/2022     9014127        $92.57     $0.00       $92.57 06/14/2022


521-0 PNC BANK                          05/17/2022     9013916        $92.58     $0.00       $92.58 05/17/2022


521-0 PNC BANK                          04/12/2022     9013703        $92.58     $0.00       $92.58 04/12/2022


521-0 PNC BANK                          03/16/2022     9013482        $92.58     $0.00       $92.58 03/16/2022


521-0 PNC BANK                          02/16/2022     2009879        $92.57     $0.00       $92.57 03/04/2022


521-0 PNC BANK                          01/19/2022     2008908        $92.58     $0.00       $92.58 02/01/2022


521-0 PNC BANK                          12/15/2021     2007895        $92.58     $0.00       $92.58 01/03/2022


521-0 PNC BANK                          11/16/2021     2006874        $92.58     $0.00       $92.58 12/09/2021


521-0 PNC BANK                          10/14/2021     2005844        $95.32     $0.00       $95.32 10/26/2021


521-0 PNC BANK                          09/14/2021     2004794        $95.31     $0.00       $95.31 09/28/2021


521-0 PNC BANK                          07/14/2021     2002724       $190.62     $0.00      $190.62 07/28/2021


521-0 PNC BANK                          05/18/2021     2000748       $206.43     $0.00      $206.43 06/03/2021


521-0 PNC BANK                          04/15/2021     1229363       $773.50     $0.00     $773.50 04/26/2021


521-0 PNC BANK                          03/17/2021     1228354        $46.00     $0.00       $46.00 03/26/2021


                                                     Sub-totals: $4,303.72       $0.00   $4,303.72


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Claim name                       Type   Date          Check #      Principal   Interest       Total Reconciled
                                                                                    DisbDescrp
                                                  Grand Total: $4,303.72        $0.00




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                                                Disbursements for Claim
Case: 19-03433            DONNA M BRENNAN
         PNC BANK
                                                                                    Sequence: 24
         P.O. BOX 94982
                                                                                       Modify:
                                                                                   Filed Date:
         CLEVELAND, OH 44101-
                                                                                   Hold Code:
 Acct No: 160 Old Rte 940 - PRE-ARREARS - 7744
         ARREARS - 160 OLD ROUTE 940


                                                  Debt:        $26,467.86       Interest Paid:              $0.00
        Amt Sched:                $147,304.00                                     Accrued Int:               $0.00
         Amt Due:         $0.00                    Paid:       $26,467.86        Balance Due:                $0.00

Claim name                               Type      Date         Check #      Principal    Interest       Total Reconciled
                                                                                               DisbDescrp
 5200        PNC BANK
520-0 PNC BANK                                   06/18/2024      9018696      $716.13       $0.00     $716.13 06/18/2024


520-0 PNC BANK                                   04/17/2024      9018348      $791.33       $0.00     $791.33 04/17/2024


520-0 PNC BANK                                   03/14/2024      9018169      $573.71       $0.00     $573.71 03/14/2024


520-0 PNC BANK                                   02/14/2024      9017985    $1,147.43       $0.00   $1,147.43 02/14/2024


520-0 PNC BANK                                   01/12/2024      9017823      $573.71       $0.00     $573.71 01/12/2024


520-0 PNC BANK                                   12/19/2023      9017665      $573.71       $0.00     $573.71 12/19/2023


520-0 PNC BANK                                   10/18/2023      9017317      $603.64       $0.00     $603.64 10/18/2023


520-0 PNC BANK                                   09/19/2023      9017138      $603.65       $0.00     $603.65 09/19/2023


520-0 PNC BANK                                   08/09/2023      9016953      $603.65       $0.00     $603.65 08/09/2023


520-0 PNC BANK                                   07/11/2023      9016763      $603.65       $0.00     $603.65 07/11/2023


520-0 PNC BANK                                   06/13/2023      9016585      $579.94       $0.00     $579.94 06/13/2023


520-0 PNC BANK                                   04/18/2023      9016213      $579.95       $0.00     $579.95 04/19/2023


520-0 PNC BANK                                   03/15/2023      9016009      $579.95       $0.00     $579.95 03/15/2023


520-0 PNC BANK                                   02/15/2023      9015810      $579.95       $0.00     $579.95 02/15/2023



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Claim name                       Type     Date        Check #      Principal   Interest       Total Reconciled
                                                                                    DisbDescrp
520-0 PNC BANK                          01/18/2023     9015601      $579.95      $0.00     $579.95 01/18/2023


520-0 PNC BANK                          12/13/2022     9015399      $583.95     $0.00      $583.95 12/13/2022


520-0 PNC BANK                          11/16/2022     9015187      $579.95     $0.00      $579.95 11/16/2022


520-0 PNC BANK                          09/13/2022     9014760      $611.75     $0.00      $611.75 09/13/2022


520-0 PNC BANK                          08/17/2022     9014552    $1,792.87     $0.00    $1,792.87 08/18/2022


520-0 PNC BANK                          06/14/2022     9014127      $569.36     $0.00      $569.36 06/14/2022


520-0 PNC BANK                          05/17/2022     9013916      $569.35     $0.00      $569.35 05/17/2022


520-0 PNC BANK                          04/12/2022     9013703      $569.35     $0.00      $569.35 04/12/2022


520-0 PNC BANK                          03/16/2022     9013482      $569.35     $0.00      $569.35 03/16/2022


520-0 PNC BANK                          02/16/2022     2009879      $569.36     $0.00      $569.36 03/04/2022


520-0 PNC BANK                          01/19/2022     2008907      $569.35     $0.00      $569.35 02/01/2022


520-0 PNC BANK                          12/15/2021     2007895      $569.35     $0.00      $569.35 01/03/2022


520-0 PNC BANK                          11/16/2021     2006874      $569.35     $0.00      $569.35 12/09/2021


520-0 PNC BANK                          10/14/2021     2005844      $586.18     $0.00      $586.18 10/26/2021


520-0 PNC BANK                          09/14/2021     2004794      $586.19     $0.00      $586.19 09/28/2021


520-0 PNC BANK                          07/14/2021     2002724    $1,172.38     $0.00    $1,172.38 07/28/2021


520-0 PNC BANK                          05/18/2021     2000748      $475.07     $0.00     $475.07 06/03/2021


520-0 PNC BANK                          02/17/2021     1227335    $1,092.00     $0.00    $1,092.00 02/26/2021


520-0 PNC BANK                          01/19/2021     1226320    $1,092.00     $0.00    $1,092.00 02/04/2021


520-0 PNC BANK                          11/03/2020     1223568      $546.00     $0.00     $546.00 11/18/2020


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Claim name                       Type     Date           Check #      Principal   Interest       Total Reconciled
                                                                                       DisbDescrp
520-0 PNC BANK                          10/15/2020       1222759       $540.00      $0.00     $540.00 10/26/2020


520-0 PNC BANK                          08/12/2020       1220706     $1,080.00     $0.00    $1,080.00 08/26/2020


520-0 PNC BANK                          07/07/2020       1219664       $540.00     $0.00     $540.00 07/20/2020


520-0 PNC BANK                          06/02/2020       1218639       $656.19     $0.00      $656.19 06/16/2020


520-0 PNC BANK                          04/14/2020       1216650       $288.16     $0.00      $288.16 04/28/2020


                                                      Sub-totals: $26,467.86       $0.00 $26,467.86

                                                     Grand Total: $26,467.86       $0.00




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